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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:10CR3085
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
FABIAN ANTILLON-ESTRADA,                    )
                                            )
                    Defendant.              )


      On the oral motion of the defendant, and without objection by the plaintiff,

       IT IS ORDERED that the defendant’s sentencing is continued to Thursday, September
22, 2011, at 12:30 p.m., before the undersigned United States district judge, in Courtroom
No. 1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      Dated August 26, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
